           Case 3:14-cr-03179-BAS              Document 107           Filed 02/12/15           PageID.342        Page 1 of 2

AD 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                     UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF CALIFORNIA 15 ; - I ~~ .~.n 8: I 4
              UNITED STATES OF AMERICA                             JUDGMENT IN A CRIMINAL CASE                             ,
                                v.                                 (For Offenses Committed Onor After Novem.betl, '19'87)
         DANIEL ERNESTO PEIRO-ALVAREZ (l)
                                                                      Case Number:         14CR3179-BAS

                                                                   CASEY DONOVAN
                                                                   Defendant's Attorney
REGISTRATION NO.                    13122298
o­
IZI    pleaded guilty to count(s)      ONE (1) OF THE INFORMATION

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                    Count
Title & Section                      Nature of Offense                                                             Number(s)
8 USC 1324(a)(1)(A)(ii)              CONSPIRACY TO TRANSPORT ILLEGAL ALIENS FOR                                       1
AND (v)(I)                           FINANCIAL GAIN




     The defendant is sentenced as provided in pages 2 through .              2           ofthis judgment.
 The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 o Count(s)                                                   is          dismissed on the motion of the United States.
                ----------------------~~-
 IZI    Assessment: $100.00



 IZI No fine                    0 Forfeiture pursuant to order filed                                          , included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the.defendant shall notify the court and United States Attorney of
 any material change in the defendant's economic circumstances.


                                                                    FEBRUARY




                                                                                                                   14CR3179-BAS
         Case 3:14-cr-03179-BAS           Document 107         Filed 02/12/15       PageID.343        Page 2 of 2

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                DANIEL ERNESTO PEIRO-ALVAREZ (1)                                       Judgment - Page 1 of 1
CASE NUMBER:              14CR3179-BAS

                                                IMPRISONMENT
The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
FOURTEEN (14) MONTHS




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 o     The court makes the following recommendations to the Bureau of Prisons:




 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States. Marshal for this district:
             at                         A.M.                 on
             ------------------
        o as notified by the United States MarshaL
                                                                  ------------------------------------
        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o      Prisons:
        o    on or before
        o    as notified by the United States Marshal.
        o    as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

        Defendant delivered on
                                 __________________________ ro ______________________________

 at
      ----------------------- , with a certified copy of this judgment.
                                                                  UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                        14CR3179-BAS
